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                          UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF KENTUCKY
                         EASTERN DIVISION AT COVINGTON
                              CASE NO. 2:21-CV-00072

  JEFFREY CUNDIFF                                                               PLAINTIFF
  V.
  DOUGLAS ULLRICH, et al.,                                                   DEFENDANTS




 PROPOSED ORDER GRANTING PLAINTIFF’S MOTION FOR PARTIAL SUMMARY
                           JUDGMENT


        Upon Motion by Plaintiff for Partial Summary Judgment, Defendant having responded,

 and for good cause shown and this Court being otherwise sufficiently advised, IT IS HEREBY

 ORDERED AND ADJUDGED as follows:

        1.     Plaintiff’s Motion for Partial Summary Judgment is GRANTED.

        SO ORDERED this ___________ day of ___________________________, 2022.



                                           ____________________________________
                                           JUDGE UNITED STATES DISTRICT COURT.




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